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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                           CIVIL ACTION

THE UNIFIED JUDICIAL SYSTEM OF                      No. 22-cv-00709
PENNSYLVANIA, THE SUPREME
COURT OF PENNSYLVANIA, THE
BLAIR COUNTY COURT OF COMMON
PLEAS, THE LACKAWANNA COUNTY
COURT OF COMMON PLEAS, THE
JEFFERSON COUNTY COURT OF
COMMON PLEAS, and THE
NORTHUMBERLAND COUNTY COURT
OF COMMON PLEAS,

       Defendants.


    STIPULATION OF DISMISSAL OF DEFENDANT THE SUPREME COURT OF
          PENNSYLVANIA PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff United States of

America voluntarily dismisses any and all claims in this action against Defendant the Supreme

Court of Pennsylvania with prejudice.

SO STIPULATED BY THE PARTIES:
                                                 /s/Robert J. Krandel/rjk
                                                  /s/
                                                  ROBERT J. KRANDEL
                                                  Attorney I.D. No. PA89485
                                                  GERI ROMANELLO ST. JOSEPH
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                                                  Counsel for Defendants
         Case 2:22-cv-00709-MSG Document 54 Filed 02/01/24 Page 2 of 3




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Eastern District of Pennsylvania
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Dated: February 1, 2024
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I caused a true and correct copy of the foregoing

Stipulation of Dismissal to be served via Electronic Case Filing (ECF) upon the following:

                                    Robert J. Krandel, Esq.
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                                                   /s/ Lauren DeBruicker
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Dated: February 1, 2024
